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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )   CR. S-07-0515 WBS
12             Plaintiff,             )
                                      )   STIPULATION AND ORDER
13                                    )   CONTINUING STATUS CONFERENCE AND
          v.                          )   EXCLUDING TIME
14                                    )
     JUAN VILLA, JR.,                 )
15                                    )
               Defendants.            )   Hon. William B. Shubb
16                                    )
17
18        The parties request that the status conference currently set
19   for July 19, 2010, be continued to October 18, 2010, and
20   stipulate that the time beginning July 19, 2010, and extending
21   through October 18, 2010, should be excluded from the calculation
22   of time under the Speedy Trial Act.      The parties submit that the
23   ends of justice are served by the Court excluding such time, so
24   that counsel for the defendant may have reasonable time necessary
25   for effective preparation, taking into account the exercise of
26   due diligence.   18 U.S.C. § 3161(h)(7)(B)(iv); Local Code T4.
27         The parties stipulate and agree that the interests of
28   justice served by granting this continuance outweigh the best

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 1   interests of the public and the defendant in a speedy trial.          18
 2   U.S.C. § 3161(h)(7)(A).
 3                                            Respectfully Submitted,
 4                                            BENJAMIN B. WAGNE
                                              Acting United States Attorney
 5
 6   Dated: July 8, 2010                By:/s/ Michael M. Beckwith
                                           MICHAEL M. BECKWITH
 7                                         Assistant U.S. Attorney
 8
     Dated: July 8, 2010                By:/s/ James Ralph Greiner
 9                                         JAMES RALPH GREINER
                                           Attorney for defendant
10                                         Juan Villa, Jr.
11
12                                    ORDER
13        For the reasons stated above, the status conference in case
14   number CR. S 07-515 WBS, currently set for July 19, 2010, is
15   continued to October 18, 2010; and the time beginning July 19,
16   2010, and extending through October 18, 2010, is excluded from
17   the calculation of time under the Speedy Trial Act for effective
18   defense preparation.     The Court finds that interests of justice
19   served by granting this continuance outweigh the best interests
20   of the public and the defendants in a speedy trial.        18 U.S.C. §
21   3161(h)(7)(A) and (B)(iv).
22   IT IS SO ORDERED.
23   Dated:   July 12, 2010
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